



 





THIS
  OPINION HAS NO PRECEDENTIAL VALUE.&nbsp; IT SHOULD NOT BE CITED OR RELIED ON AS
  PRECEDENT IN ANY PROCEEDING EXCEPT AS PROVIDED BY RULE 268(d)(2), SCACR.
THE STATE OF SOUTH CAROLINA
In The Court of Appeals

	
		
			
				The State, Respondent,
				v.
				John J. Blanks, Appellant.
			
		
	


Appeal From Charleston County
&nbsp;Thomas L. Hughston, Jr., Circuit Court
  Judge
Unpublished Opinion No. 2009-UP-255
Submitted May 1, 2009  Filed June 1, 2009&nbsp;&nbsp;&nbsp; 
APPEAL DISMISSED


	
		
			
				Appellate Defender Robert M. Pachak, of Columbia, for Appellant.
				Attorney General Henry Dargan McMaster, Chief Deputy Attorney
  General John W. McIntosh, Assistant Deputy Attorney General Salley W. Elliott, all
  of Columbia; and Solicitor Scarlett A. Wilson, of Charleston, for Respondent.
			
		
	

PER CURIAM:&nbsp; John J.
  Blanks appeals his guilty plea and sentence for indecent exposure, arguing the
  plea court erred in failing to comply with the mandates set forth in Boykin
    v. Alabama, 395 U.S. 238 (1969).&nbsp; After a thorough review of the record and counsel's brief, pursuant
  to Anders v. California, 386 U.S. 738 (1967) and State v. Williams,
  305 S.C. 116, 406 S.E.2d 357 (1991), we dismiss the appeal and grant counsel's
  motion to be relieved.[1]
APPEAL
  DISMISSED.
HEARN, C.J., THOMAS, and KONDUROS, JJ.,
  concur.



[1] We decide this case without oral argument
  pursuant to Rule 215, SCACR.

